                                           Case 11-11728                 Doc 48    Filed 12/09/11         Page 1 of 62
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                              Middle District of North Carolina
 In re          Wayne Lester Stutts,                                                                        Case No.      11-11728
                Joyce A. Stutts
                                                                                                    ,
                                                                                   Debtors                  Chapter                      11




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                  LIABILITIES                OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes              12             4,866,286.00


B - Personal Property                                     Yes              6                 511,052.52


C - Property Claimed as Exempt                            Yes              10


D - Creditors Holding Secured Claims                      Yes              4                                      4,164,068.78


E - Creditors Holding Unsecured                           Yes              5                                            6,794.39
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes              3                                          212,982.59
    Nonpriority Claims

G - Executory Contracts and                               Yes              1
   Unexpired Leases

H - Codebtors                                             Yes              1


I - Current Income of Individual                          Yes              1                                                                      4,997.83
    Debtor(s)

J - Current Expenditures of Individual                    Yes              2                                                                      5,735.99
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                 45


                                                                    Total Assets          5,377,338.52


                                                                                     Total Liabilities            4,383,845.76




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                                          Case 11-11728                  Doc 48        Filed 12/09/11            Page 2 of 62
Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                              Middle District of North Carolina
 In re           Wayne Lester Stutts,                                                                                Case No.   11-11728
                 Joyce A. Stutts
                                                                                                          ,
                                                                                       Debtors                       Chapter                11


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                   Amount

             Domestic Support Obligations (from Schedule E)                                                       0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                              2,694.39

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

             Student Loan Obligations (from Schedule F)                                                           0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                  0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                  0.00

                                                                            TOTAL                             2,694.39


             State the following:

             Average Income (from Schedule I, Line 16)                                                        4,997.83

             Average Expenses (from Schedule J, Line 18)                                                      5,735.99

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                          308.33


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                    483,561.63

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                               113.31

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                      6,681.08

             4. Total from Schedule F                                                                                               212,982.59

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           703,225.30




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                                         Case 11-11728                   Doc 48     Filed 12/09/11           Page 3 of 62
B6A (Official Form 6A) (12/07)


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 In re         Wayne Lester Stutts,                                                                            Case No.      11-11728
               Joyce A. Stutts
                                                                                                     ,
                                                                                     Debtors
                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                   Husband,    Current Value of
                                                                           Nature of Debtor's       Wife,     Debtor's Interest in          Amount of
               Description and Location of Property                        Interest in Property     Joint, or  Property, without           Secured Claim
                                                                                                  Community Deducting  any Secured
                                                                                                              Claim or Exemption

Personal Use Property                                                      Tenancy by the Entirety       J                 331,480.00             648,485.00
1107 E. Beach
Oak Island, NC
Tax value shown

Residence and Lot                                                          Tenancy by the Entirety       J                 323,300.00             475,000.00
Location: 3703 Friendly Acres Dr., Greensboro NC
Tax value listed

Residential Rental Property and/or Lot(s)                                  Tenancy by the Entirety       J                 455,800.00             285,000.00
See attached Exhibit A.1
Tax Value Listed

Residential Rental Property and/or Lot(s)                                  Tenancy by the Entirety       W                  58,200.00              73,056.63
See attached Exhibit A.2
Tax Value Listed

Residential Rental Property and/or Lot(s)                                  Tenancy by the Entirety       J                 513,056.00             312,000.00
See attached Exhibit A.3
Tax Value Listed

Convenience Store Property                                                 Tenancy by the Entirety       J                 195,400.00             132,829.49
See Exhibit A.4
Tax Value Listed

Residential Rental Property and/or Lot(s)                                  Tenancy by the Entirety       J                2,020,300.00         1,750,000.00
See Attached Exhibit A.5
Tax Value Listed

Residential Rental Property and/or Lot(s)                                  Tenancy by the Entirety       J                 572,000.00             400,000.00
See Attached Exhibit A.7
Tax value listed

Randolph County, NC - Vacant Lots                                          Tenancy by the Entirety       J                  86,300.00                      0.00
See attached Exhibit A.8
Tax value listed



                                                                                                     Sub-Total >      4,555,836.00         (Total of this page)


  1    continuation sheets attached to the Schedule of Real Property

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B6A (Official Form 6A) (12/07) - Cont.




 In re         Wayne Lester Stutts,                                                                              Case No.     11-11728
               Joyce A. Stutts
                                                                                                     ,
                                                                                     Debtors
                                                         SCHEDULE A - REAL PROPERTY
                                                                            (Continuation Sheet)




                                                                                                    Husband,    Current Value of
                                                                           Nature of Debtor's        Wife      Debtor's Interest in            Amount of
               Description and Location of Property                        Interest in Property      Joint, or  Property, without             Secured Claim
                                                                                                   Community Deducting  any Secured
                                                                                                               Claim or Exemption

Rockingham County residential rental property                              Tenancy by the Entirety       J                   11,150.00                        0.00
and/or lots
See Exhibit A.8

Guilford County, NC residential rental property                            Tenancy by the Entirety       J                  212,300.00                        0.00
and/or lots
See Exhibit A.8

Residential Rental Property                                                Tenancy by the Entirety       J                   87,000.00                86,997.66
See Exhibit A.6
Tax Value Listed




                                                                                                     Sub-Total >            310,450.00       (Total of this page)

                                                                                                             Total >    4,866,286.00
Sheet    1     of    1     continuation sheets attached to the Schedule of Real Property
                                                                                                     (Report also on Summary of Schedules)
Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
                                                            EXHIBIT A.1
                                                WAYNE L. STUTTS and JOYCE A. STUTTS

                                                                                                   Original
                                                                                                  Principal                   Yearly Rental
     LENDER           Deed of Trust      Date                       Property                      Amount          Tax Value     Income

MidCarolina Bank   Book 6923 Page 1085 8/6/2008     1312 Mayfair Avenue, Greensboro, NC       $     306,000 $         78,200 $       7,200
                   Promissory Note                  1310 Mayfair Avenue, Greensboro, NC                               78,800         7,800
                   executed same date               1423 E. Washington, Greensboro, NC                                89,700         9,600
                                                    3544 Vernon Dr., Greensboro, NC                                   27,000
                                                                                                                                              Case 11-11728




                                                    4694 Crossbend Rd., Greensboro, NC                                27,000
                                                    4696 Crossbend Rd., Greensboro, NC                                27,000
                                                    4710 Crossbend Rd., Greensboro, NC                                30,000
                                                    4706 Crossbend Rd., Greensboro, NC                                24,600
                                                                                                                                              Doc 48




                                                    4700 Crossbend Rd., Greensboro, NC                                28,800
                                                    4702 Crossbend Rd., Greensboro, NC                                29,700
                                                    3544 Rear Vernopn Dr., Greensboro, NC                              6,000
                                                    4694 Rear Crossbend Rd., Greensboro, NC                            3,000
                                                    4696 Rear Crossbend Rd., Greensboro, NC                            3,000
                                                    4700 Rear Crossbend Rd., Greensboro, NC                            3,000
                                                                                                                                              Filed 12/09/11




                                                                                                   TOTAL      $      455,800 $      24,600
                                                                                                                                              Page 5 of 62
                                                                EXHIBIT A.2
                                                    WAYNE L. STUTTS and JOYCE A. STUTTS

                                                                                                       Original
                                                                                                      Principal               Yearly Rental
     LENDER           Deed of Trust          Date                        Property                     Amount      Tax Value     Income

Bank of America   Book 6455 Page 600         12/20/2005   3814-A Central Avenue, Greensboro, NC   $      65,600 $    58,200 $         7,200
                  Initial Lender - American Home Mortgage Acceptance, Inc.
                                                                                                                                              Case 11-11728
                                                                                                                                              Doc 48
                                                                                                                                              Filed 12/09/11
                                                                                                                                              Page 6 of 62
                                                                 EXHIBIT A.3
                                                     WAYNE L. STUTTS and JOYCE A. STUTTS

                                                                                                      Original
                                                                                                     Principal               Yearly Rental
     LENDER           Deed of Trust           Date                            Property               Amount      Tax Value     Income

JP Morgan Chase   Book 6141 Page 2438          7/29/2004     4690 Crossbend Rd., McLeansville, NC    $ 125,000 $ 144,200       VACANT
                  Initial Lender - Washington Mutual Bank

                  Book 1207 Page 1712          6/30/2004     627 Danbury Bridge Rd., Madison, NC     $ 88,000     104,656            9,600
                  Initial Lender - Washington Mutual Bank
                                                                                                                                             Case 11-11728




                  Book 6141 Page 2409          7/29/2004     4692 Crossbend Rd., McLeansville, NC    $ 125,000    144,200            9,600
                  Initial Lender - Washington Mutual Bank
                                                                                                                                             Doc 48




                  Book 6124 Page 1983          6/29/2004     711 A & B Rollins St., Greensboro, NC   $ 105,600    120,000           14,400
                  Initial Lender - Washington Mutual Bank
                                                                                                     TOTAL       $ 513,056 $       33,600
                                                                                                                                             Filed 12/09/11
                                                                                                                                             Page 7 of 62
                                                            EXHIBIT A.4
                                                WAYNE L. STUTTS and JOYCE A. STUTTS

                                                                                             Original
                                                                                            Principal                 Yearly Rental
      LENDER            Deed of Trust       Date                      Property              Amount        Tax Value     Income

Bank of Oak Ridge   Book 7198 Page 387   12/22/2010   5148 Randleman Road, Greensboro, NC   $ 135,000 $     195,400 $       24,000
                                                                                                                                      Case 11-11728
                                                                                                                                      Doc 48
                                                                                                                                      Filed 12/09/11
                                                                                                                                      Page 8 of 62
                                                                 EXHIBIT A.5
                                                     WAYNE L. STUTTS and JOYCE A. STUTTS

                                                                                                   Original
                                                                                                  Principal                  Yearly Rental
  LENDER          Deed of Trust           Date                         Property                   Amount         Tax Value     Income

Wells Fargo   Book 6822 Page 764       11/26/2007    1705 Gordon Street, Greensboro, NC       $       76,000 $      92,100     VACANT
              Initial Lender - World Savings Bank

              Book 6760 Page 2304        6/29/2007   543 Denny Road, Greensboro, NC           $       51,000        48,200 $        6,900
              Initial Lender - World Savings Bank
                                                                                                                                             Case 11-11728




              Book 6718 Page 2543        4/20/2007   1809 Gatewood Avenue, Greensboro, NC     $       60,000        62,300          7,800
              Initial Lender - World Savings Bank
                                                                                                                                             Doc 48




              Book 6711 Page 1226        4/20/2007   1208 Huffine Mill Road, Greensboro, NC   $       64,800        80,600     VACANT
              Initial Lender - World Savings Bank

              Book 6711 Page 1207        4/20/2007   2023 Pine Bluff, Greensboro, NC          $       65,000        88,500     VACANT
              Initial Lender - World Savings Bank
                                                                                                                                             Filed 12/09/11




              Book 6711 Page 1185        4/20/2007   3620 Martin Avenue, Greensboro, NC       $       78,800        83,100     VACANT
              Initial Lender - World Savings Bank

              Book 5996 Page 3053 11/22/2009          2503 E. Bessemer Ave., Greensboro, NC   $       66,000        53,700     VACANT
              Initial Lender - SouthTrust Mortgage Corporation
                                                                                                                                             Page 9 of 62




              Book 5996 Page 2724        12/8/2003    2612 Brim Road, Greensboro, NC          $       73,500       102,800          6,660
              Initial Lender - SouthTrust Mortgage Corporation

              Book 5996 Page 2699        12/8/2003    3816 A Central Avenue, Greensboro, NC   $       59,000        71,200          6,408
              Initial Lender - SouthTrust Mortgage Corporation
Book 5996 Page 2674       12/8/2003    700 Cole Street, Greensboro, NC           $   52,500   61,200      8,400
Initial Lender SouthTrust Mortgage Corporation

Book 5996 Page 2624        12/8/2003    3816 Central Avenue, Greensboro, NC      $   40,000   38,600      9,600
Initial Lender - SouthTrust Mortgage Corporation

Book 5996 Page 2599        12/8/2003    2616 Brim Road, Greensboro, NC           $   73,000   84,900      4,800
Initial Lender - SouthTrust Mortgage Corporation

Book 5996 Page 2574        12/8/2003    2217 W. Florida Street, Greensboro, NC   $   60,500   77,700      7,800
Initial Lender - SouthTrust Mortgage Corporation
                                                                                                                  Case 11-11728




Book 5996 Page 2499        12/8/2003    3527 Fiesta Drive, Greensboro, NC        $   52,500   76,700      7,200
Initial Lender - SouthTrust Mortgage Corporation
                                                                                                                  Doc 48




Book 5983 Page 1053 11/17/2003          1801 Willowmore Street Greensboro, NC    $   49,000   65,700      6,600
Initial Lender - SouthTrust Mortgage Corporation

Book 5983 Page 1003 11/17/2003          1505 Berwick Street, Greensboro, NC      $   52,000   67,900      5,400
Initial Lender - SouthTrust Mortgage Corporation

Book 5983 Page 987       11/17/2003     806 Aladdin Street, Greensboro, NC       $   41,000   46,600   VACANT
                                                                                                                  Filed 12/09/11




Initial Lender - SouthTrust Mortgage Corporation

Book 5983 Page 1028 11/17/2003          908 W. Terrell Street, Greensboro, NC    $   44,000   51,400   VACANT
Initial Lender - SouthTrust Mortgage Corporation

Book 5983 Page 953       11/17/2003     4110 Woodale Lane, Greensboro, NC        $   59,500   59,200      7,200
                                                                                                                  Page 10 of 62




Initial Lender - SouthTrust Mortgage Corporaiton

Book 5983 Page 928       11/17/2003     2604 Brim Road, Greensboro, NC           $   74,200   88,600      9,600
Initial Lender - SouthTrust Mortgage Corporation

Book 5983 Page 878     11/17/2003      2608 Brim Road, Greensboro, NC            $   74,600   94,200      9,600
Initial Lender - SouthTrust Mortgage Corporation

Book 5967 Page 1775 10/27/2003          1400 Kingston Road, Greensboro, NC       $       37,500       30,900          6,408
Initial Lender - SouthStar Mortgage Corporation

Book 5967 Page 1650 10/27/2003          3618 Martin Avenue, Greensboro, NC       $       43,000       35,500          6,600
Initial Lender - SouthTrust Mortgage Corporation

Book 5532 Page 2134        6/14/2002    3939 A Eastland Avenue, Greensboro, NC   $       67,500       86,900          8,400
Initial Lender - SouthTrust Mortgage Corporation

Book 5532 page 2109       6/14/2002     3945 Eastland Avenue, Greensboro, NC     $       66,375       86,900      VACANT
                                                                                                                              Case 11-11728




Initial Lender - SouthTrust Mortgage Corporation

Book 5459 Page 2071        3/11/2003    1712 Ryan Street, Greensboro, NC 27405   $       66,750       87,000      VACANT
                                                                                                                              Doc 48




Initial Lender - SouthTrust Mortgage Corporation

Book 5428 Page 1753        1/30/2002    4109 Woodale Lane, Greensboro, NC        $       67,125       83,600          8,400
Initial Lender - SouthTrust Mortgage Corporation

Book 5373 Page 2014 11/27/2001          3724 Central Avenue, Greensboro, NC      $       66,750       70,300          6,000
Initial Lender - SouthTrust Mortgage Corporation
                                                                                                                              Filed 12/09/11




Book 4957 Page 1750 10/27/2003          1301 Hickory Street, Greensboro, NC      $       46,000       44,000      VACANT
Initial Lender - SouthTrust Mortgage Corporation
                                                                                 TOTAL            $ 2,020,300 $     139,776
                                                                                                                              Page 11 of 62
                                                          EXHIBIT A.6
                                              WAYNE L. STUTTS and JOYCE A. STUTTS

                                                                                                  Original
                                                                                                 Principal           Yearly Rental
        LENDER            Deed of Trust          Date                      Property              Amount Tax Value      Income

First Horizon Home   Book 6695 Page 1032        3/22/2007   1018 Merritt Drive, Greensboro, NC   $ 82,500 $ 87,000     VACANT
Loan Corporation     Servicer of mortgage - NationStar
                                                                                                                                     Case 11-11728
                                                                                                                                     Doc 48
                                                                                                                                     Filed 12/09/11
                                                                                                                                     Page 12 of 62
                                                              EXHIBIT A.7
                                                  WAYNE L. STUTTS and JOYCE A. STUTTS

                                                                                                        Original                Yearly
                                                                                                       Principal                Rental
         LENDER               Deed of Trust         Date                      Property                 Amount      Tax Value   Income


American Home Mortgage Book 6361 Page 2374        6/27/2005 5800 Harvest Hill Road, Greensboro, NC     $ 94,000 $ 105,700 $      9,600
Investment Trust       Initial Lender - American Home Mortgage Acceptance, Inc.

                          Book 6361 Page 2319 10/26/2011 5802 Harvest Hill Road, Greensboro, NC        $ 97,000      105,700     9,600
                                                                                                                                         Case 11-11728




                          Initial Lender - American Home Mortgage Acceptance, Inc.
                                                                                                                                         Doc 48




American Home Mortgage Book 6355 Page 916        7/15/2005    301 East Bessemer Ave., Greensboro, NC   $ 112,000     126,200   VACANT
Acceptance, Inc.
                       Book 6355 Page 890        7/15/2005    305 East Bessemer Ave., Greensboro, NC   $ 112,000     138,700    14,400

                          Book 6209 Page 2965   11/18/2004    2515 Cottage Place, Greensboro, NC       $ 88,000       95,700     6,000
                                                                                                                                         Filed 12/09/11




                                                                                                       TOTAL       $ 572,000 $ 39,600
                                                                                                                                         Page 13 of 62
            Case 11-11728         Doc 48    Filed 12/09/11   Page 14 of 62


                                       EXHIBIT A.8
                           WAYNE L. STUTTS and JOYCE A. STUTTS
                                Unencumbered Property

Property Location                                2011 Tax Value

Randolph County, NC Property

  335 E. Raleigh Ave., Liberty, NC               $       25,450
  0 E. Brower Ave., Randolph, NC                         15,470
        Pine Valley; L10 Sc 1
  0 E. Brower Ave., Randolph, NC                         15,450
        Pine Valley; L9 Sc 1
  0 E. Brower Ave., Randolph, NC                         14,570
        Pine Valley; L8 Sc 1
  0 E. Brower Ave., Randolph, NC                         15,360
        Pine Valley; L7 Sc 1
                                                 $       86,300



Rockingham County Property

  Lot 17 Colonial Estates                        $        5,150
  Lots 23A-23B-23C Sec 1A Colonial Est.                   6,000
                                                 $       11,150



Guilford County Property

  3800 Friendly Acres Dr., Greensboro            $       78,000
  2104 Needleleaf Lane, Greensboro                       60,000
  4697 Coltsfoot Rd., Greensboro                         15,000
  3605 Rear Country Ridge Rd., Greensboro                 1,000
  3607 Rear Country Ridge Rd., Greensboro                 3,000
  3702 R1 Country Ridge Rd., Greensboro                  10,000
  3401 Near Murchie St., Greensboro                       5,000
  128 R2 Arcaro Dr., Greensboro                             300
  7404 Townsend Edge, Greensboro                         40,000
                                                 $      212,300
                                        Case 11-11728                    Doc 48     Filed 12/09/11         Page 15 of 62
B6B (Official Form 6B) (12/07)


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 In re         Wayne Lester Stutts,                                                                                Case No.       11-11728
               Joyce A. Stutts
                                                                                                       ,
                                                                                      Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                   Husband,        Current Value of
               Type of Property                       O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                    Joint, or   without Deducting any
                                                      E                                                                  Community Secured Claim or Exemption

1.    Cash on hand                                        Cash on hand                                                        J                      90,000.00

2.    Checking, savings or other financial                RBC Bank Checking Account #195-2                                    W                        7,310.84
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                  MidCarolina Bank Checking Acct. #0705                               J                        4,054.86
      thrift, building and loan, and
      homestead associations, or credit                   RBC Bank Checking Account #4973                                     J                           291.38
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Residence Furnishings                                               J                        4,525.00
      including audio, video, and
      computer equipment.                                 Residence Electronics                                               J                           900.00

                                                          Beach house furnishings                                             J                        1,350.00

                                                          Residence garage, tools used in business                            H                           300.00

                                                          Beach house electronics                                             J                           350.00

5.    Books, pictures and other art                       Art work, $1,000; Oriental rugs (2), $1,500; Antique                J                        3,700.00
      objects, antiques, stamp, coin,                     Lincoln desk, $1,000; Set of silverware, $200
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing                                                            J                           400.00

7.    Furs and jewelry.                                   Jewelry                                                             W                        6,500.00

                                                          Jewelry                                                             H                           100.00

8.    Firearms and sports, photographic,                  38 Revolver - Unknown manufacturer, old, poor                       H                            50.00
      and other hobby equipment.                          condition




                                                                                                                              Sub-Total >        119,832.08
                                                                                                                  (Total of this page)

  4    continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                           Best Case Bankruptcy
                                         Case 11-11728                   Doc 48     Filed 12/09/11         Page 16 of 62
B6B (Official Form 6B) (12/07) - Cont.




 In re         Wayne Lester Stutts,                                                                                Case No.       11-11728
               Joyce A. Stutts
                                                                                                       ,
                                                                                      Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                      N                                                                   Husband,        Current Value of
               Type of Property                       O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                    Joint, or   without Deducting any
                                                      E                                                                  Community Secured Claim or Exemption

9.    Interests in insurance policies.                    Life of Georgia Insurance Company                                   H                      14,625.06
      Name insurance company of each                      Market Value is the Cash surrender value as of
      policy and itemize surrender or                     8/31/99
      refund value of each.
                                                          Great-West Life Assurance Company                                   -                        2,869.65
                                                          Whole life policy with a loan; Market value is cash
                                                          surrender value as of 11/30/97
                                                          Owned by Wayne L. Stutts Irrevocable Trust dtd
                                                          November 4, 1998; Trustees are Female Debtor,
                                                          Teresa S. Johnson and Joseph G. Stutts;
                                                          beneficiaries are the trustees

                                                          Great-West Assurance Company                                        W                        4,031.12
                                                          Market value is the cash surrender value as of
                                                          5/31/98

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    IRA held at Valic                                                   W                      91,671.21
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   10 shares Duke Energy Stock                                         H                           196.40
    and unincorporated businesses.                        value approximate
    Itemize.

14. Interests in partnerships or joint                    Wayne L. Stutts Builder, Inc.                                       J                      70,460.00
    ventures. Itemize.                                    Location: 3703 Friendly Acres Dr., Greensboro NC
                                                          27410
                                                          See Exhibit B6B.14

                                                          Wayne L. Stutts Rentals, LLC                                        J                     162,277.00
                                                          Location: 3703 Friendly Acres Dr., Greensboro NC
                                                          27410
                                                          See Exhibit B6B.14

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.




                                                                                                                              Sub-Total >        346,130.44
                                                                                                                  (Total of this page)

Sheet 1 of 4          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                           Best Case Bankruptcy
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B6B (Official Form 6B) (12/07) - Cont.




 In re         Wayne Lester Stutts,                                                                                Case No.       11-11728
               Joyce A. Stutts
                                                                                                       ,
                                                                                      Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                      N                                                                   Husband,        Current Value of
               Type of Property                       O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                    Joint, or   without Deducting any
                                                      E                                                                  Community Secured Claim or Exemption

16. Accounts receivable.                                  Leon Jones, disputed amount owed regarding                          J                              0.00
                                                          property in Pender County, NC;
                                                          $6,000; Collectibility not anticipated

                                                          Loan to Teresa Johnston (daughter)                                  J                        1,500.00

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       NC Contractor's License #24524: Invalid                             H                              0.00
    general intangibles. Give                             NC Contractor's License #48380: Active; Last
    particulars.                                          renewed - 6/15/11

                                                          NC Surveyor's License #L-1084; Current, expires                     H                              0.00
                                                          12/31/11

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

                                                                                                                              Sub-Total >            1,500.00
                                                                                                                  (Total of this page)

Sheet 2 of 4          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                           Best Case Bankruptcy
                                         Case 11-11728                   Doc 48       Filed 12/09/11       Page 18 of 62
B6B (Official Form 6B) (12/07) - Cont.




 In re         Wayne Lester Stutts,                                                                                Case No.       11-11728
               Joyce A. Stutts
                                                                                                       ,
                                                                                        Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                      N                                                                   Husband,        Current Value of
               Type of Property                       O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                    Joint, or   without Deducting any
                                                      E                                                                  Community Secured Claim or Exemption

25. Automobiles, trucks, trailers, and                    1997 Chrysler Sebring                                               J                        3,296.00
    other vehicles and accessories.                       100,000 miles; NADA value listed
                                                          Personal use

                                                          2006 Cadillac DTX                                                   J                      18,022.00
                                                          42,000 miles; NADA value listed
                                                          Personal use

                                                          2006 Chevrolet Silverado 1500                                       J                      10,237.00
                                                          NADA value listed
                                                          Personal use

                                                          1997 GMC 3/4 ton Delivery / Box Truck                               J                        4,230.00
                                                          Used in business; poor condition; NADA value
                                                          listed

                                                          1975 Chevrolet dump truck                                           J                        4,000.00
                                                          Used in business; new engine and transmission,
                                                          poor/rough body interior condition
                                                          Value from Internet research

                                                          8' utility trailer                                                  J                           500.00
                                                          Business use

26. Boats, motors, and accessories.                       1987 Glastron 20' boat, fiberglass and wood; 170                    J                        1,500.00
                                                          Mercury engine with 50,000 miles; Trailer
                                                          poor condition, rebuilt motor

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and                   Survey equipment and tools                                          J                        1,800.00
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                              Pet - English Bulldog                                               J                              5.00

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X




                                                                                                                              Sub-Total >          43,590.00
                                                                                                                  (Total of this page)

Sheet 3 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Wayne Lester Stutts,                                                                                Case No.       11-11728
               Joyce A. Stutts
                                                                                                       ,
                                                                                      Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                      N                                                                   Husband,        Current Value of
               Type of Property                       O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                    Joint, or   without Deducting any
                                                      E                                                                  Community Secured Claim or Exemption

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                              Sub-Total >                  0.00
                                                                                                                  (Total of this page)
                                                                                                                                   Total >       511,052.52
Sheet 4 of 4          continuation sheets attached
to the Schedule of Personal Property                                                                                          (Report also on Summary of Schedules)
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      Wayne L. Stutts Builder, Inc.


                                               2011 Tax     Deliquent    Delinquent
            Property Address                    Value         Year        Amount         Current Amt Due          Mortgage
                                                                                                           NewBridge Bank
2105 Bulla St, GSO (construction pending                                                                   Principal balance est.
on unfinished duplex on property)          $      15,000      2009       $      250.44   $        212.24   $108,000
700 702 Jolson St, GSO                             4,500      2009               79.69             63.67
702 704 Jolson St, GSO                             4,500      2009               79.69             63.67
704 706 Jolson St, GSO                             4,500                                           63.67
706 708 Jolson St, GSO                             3,200                                           45.28
708 710 Jolson St, GSO                             2,700      2009               50.42             38.20
228 E Vandalia Rd, GSO                            16,400                                          232.04
3813 West, GSO                                    20,000                                          282.98   NewBridge Bank
3815 West, GSO                                    28,000      2009              461.86            396.17   Principal balance
3817 West, GSO                                    32,000      2009              526.92            452.77   as of 10/2011
3819 West, GSO                                    25,600      2009              422.83            362.21   $50,913.90
16.37 ac Olive Dr., Reidsville                    78,704      2010              537.13          1,108.15

Total Assessed Value                       $     235,104                 $    2,408.98   $      3,321.05   $          158,913.90

Value of real estate holdings              $      70,460
Debtors report no additional debt


      Wayne L. Stutts Rentals, LLC

                                               2011 Tax     Delinquent   Delinquent
            Property Address                    Value          Year       Amount         Current Amt Due

511 Hidden Valley Dr., Rockingham Cty      $    69,275.00     2010       $      119.60   $        552.82
130 Lori Dr., Rockingham, Cty                  107,163.00     2010              133.72            855.16

Total Assessed Value                       $ 176,438.00                  $      253.32   $      1,407.98

Value of real estate holding               $     174,777
Debtors' estimate of debt                         12,500
                                           $     162,277
                          Case 11-11728         Doc 48      Filed 12/09/11       Page 21 of 62

                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

In the Matter of:                                                 )
                                                                  )         Case No. 11-11728
        Wayne Lester Stutts and                                   )         Chapter 11
        Joyce A. Stutts,                                          )
                                                                  )         DEBTOR'S CLAIM FOR
                                                                  )         PROPERTY EXEMPTIONS
                                          Debtors.                )


I, Wayne Lester Stutts, the undersigned debtor, hereby claim the following property as exempt pursuant to 11 U.S.C. §
522(b)(3)(A) and (B), the Laws of the State of North Carolina, and non-bankruptcy federal law.

                 Check if the debtor claims as exempt any amount of interest that exceeds $125,000 in value in property
                that the debtor or a dependent of the debtor uses as a residence.


1. REAL OR PERSONAL PROPERTY USED BY DEBTOR OR DEBTOR'S DEPENDENT AS RESIDENCE
   OR BURIAL PLOT. NCGS 1C-1601(a)(1).
   Select the appropriate exemption amount below:

    Total net value not to exceed $35,000.
    Total net value not to exceed $65,000. (Debtor is unmarried, 65 years of age or older, property was previously
   owned by debtor as tenant by the entireties or joint tenant with rights of survivorship, and former co-owner is
   deceased.)

      Description of             Market                                               Amt. Mtg.
                                                                                                           Net Value
      Property & Address         Value          Mtg. Holder or Lien Holder(s)         or Lien
      3703 Friendly Acres
      Dr., Greensboro, NC        $323,300.00    Wells Fargo                               475,000     $       0.00


                                 (a) Total                                                            $       0.00
                                 Net Value
                                                Total Net Exemption                                    $      0.00

                                 (b) Unused portion of exemption, not to exceed
                                 $5,000. [This amount, if any, may be carried
                                 forward and used to claim an exemption in any
                                 property owned by debtor. (NCGS 1C-
                                 1601(a)(2)}                                                          $5,000.00




2. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. §
522(b)(3)(B) and the laws of the State of North Carolina pertaining to property held as tenants by the entirety.

       Description of Property         Market         Mtg. Holder or Lien      Amt. Mtg. or
                    & Address           Value                  Holder(s)              Lien                    Net Value
                        Case 11-11728      Doc 48     Filed 12/09/11      Page 22 of 62


3. MOTOR VEHICLE. NCGS 1C-1601(a)(3). (Only one vehicle allowed under this paragraph with net value claimed
   as exempt not to exceed $3,500.)

     Model, Year Style of    Market
     Auto                    Value      Lien Holder(s)                Amount of Lien           Net Value
     2006 Cadillac DTX        $18022.00 MidCarolina Bank                        700.00             17,322.00

                                                                      Debtor’s ½
                                                                      interest                           8,661.00

                             (a) Statutory allowance                                                $ 3,500.00
                             (b) Amount from 1(b) above to be used in this paragraph. (A
                             part or all of 1(b) may be used as needed.)                                 5,000.00
                                              Total Net Exemption                                   $    8,500.00



4. TOOLS OF TRADE, IMPLEMENTS, OR PROFESSIONAL BOOKS. NCGS 1C-1601(a)(5). (Used by debtor or
   debtor's dependent. Total net value of all items claimed as exempt not to exceed $2,000.)

                             Market                                   Amount of                         Net Value
     Description             Value       Lien Holder(s)               Lien
     Survey Equipment           1,500.00                                                                 1,500.00
     Tools                        300.00                                                                   300.00




                             (a) Statutory allowance                                                $    1,800.00
                             (b) Amount from 1(b) above to be used in this paragraph.
                             (A part or all of 1(b) may be used as needed.)
                                              Total Net Exemption                                   $    1,800.00



5. PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES NEEDED BY DEBTOR
   OR DEBTOR'S DEPENDENTS. NCGS 1C-1601(a)(4). (Debtor's aggregate interest, not to exceed $5,000 in value
   for the debtor plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents.)


  Description                        Market          Lien Holder(s)                     Amt. Lien        Net Value
  of Property                        Value
  Electronics                              900.00                                                             900.00
  Den/Living Room                          400.00                                                             400.00
  Master Bedroom                           200.00                                                             200.00
  Master Bath                               50.00                                                              50.00
  Study                                    200.00                                                             200.00
  Dining Room                              300.00                                                             300.00
  Kitchen                                  300.00                                                             300.00
  Den                                      200.00                                                             200.00
  Utility Room                           1300.00                                                            1,300.00
  Sunroom and Sauna                        175.00                                                             175.00
  Office                                   200.00                                                             200.00
  Patio                                    200.00                                                             200.00
                        Case 11-11728       Doc 48      Filed 12/09/11      Page 23 of 62

   Bedroom (2)                               400.00                                                          400.00
   Sitting Room                              200.00                                                          200.00
   3rd Floor                                 100.00                                                          100.00
   Clothing                                  400.00                                                          400.00
   Dog                                         5.00                                                            5.00
   Artwork, Rugs, Antiques,                3,700.00                                                        3,700.00
   Silverware
                                                                                              Total        9,230.00

                                                                    ½ Debtors Interest                     4,615.00
   Jewelry – Husband                        100.00                                                           100.00
   38 Revolver                               50.00                                                            50.00
                                                      Total Net Value                                      4,765.00

                                (a) Statutory allowance for debtor                           $ 5,000.00
                                (b) Statutory allowance for debtor’s dependents:
                                dependents at $1,000 each (not to exceed $4,000 total
                                for dependents)                                                   $ 0.00
                                (c) Amount from 1(b) above to be used in this
                                paragraph. (A part or all of 1(b) may be used as
                                needed.)                                                            0.00
                                              Total Net Exemption                              $4,765.00


6. LIFE INSURANCE. (As provided in Article X, Section 5 of North Carolina Constitution.)

   Name of Insurance Company Great West Life Assurance Co.                  Policy No. 4236897
   Name of Insured    Wayne L. Stutts                                       Policy Date Pre 1996
   Owner of Policy    Wayne L. Stutts Irrevocable Trust dtd Nov. 4, 1998
   Name of Beneficiary Joyce A. Stutts, Teresa S. Johnson, Joseph G. Stutts

   Name of Insurance Company Life of Georgia                                  Policy No. 3679347
   Name of Insured    Wayne L. Stutts                                         Policy Date Pre 1997
   Name of Beneficiary


7. PROFESSIONALLY PRESCRIBED HEALTH AIDS (FOR DEBTOR OR DEBTOR'S DEPENDENTS).
   NCGS 1C-1601(a)(7). (No limit on value of number of items.)

   Description

   Oxygen tanks and supplies - Wife
   Sleep apnea supplies – Both Debtors


8. DEBTOR'S RIGHT TO RECEIVE FOLLOWING COMPENSATION: NCGS 1C-1601(a)(8). (No limit on
   number or amount.)

   A. $           Compensation for personal injury to debtor or to person whom debtor was dependent for support.
   B. $           Compensation for death of person of whom debtor was dependent for support.
   C. $           Compensation from private disability policies or annuities.


9. INDIVIDUAL RETIREMENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY
   PLAN TREATED IN THE SAME MANNER AS AN INDIVIDUAL RETIREMENT PLAN UNDER THE
                           Case 11-11728         Doc 48      Filed 12/09/11       Page 24 of 62

   INTERNAL REVENUE CODE NCGS 1C-1601(a)(9). (No limit on number or amount.) AND OTHER
   RETIREMENT FUNDS DEFINED IN 11 U.S.C. § 522(b)(3)(c).

   Detailed Description                                                                              Value


10. COLLEGE SAVINGS PLAN QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE.
    NCGS 1C-1601(a)(10). (Total net value not to exceed $25,000 and may not include any funds placed in a college
    saving plan within the preceding 12 months not in the ordinary course of the debtor’s financial affairs. This
    exemption applies only to the extent that the funds are for a child of the debtor and will actually be used for the child’s
    college or university expenses.)

   Detailed Description                                                                              Value

11. RETIREMENT BENEFITS UNDER A RETIREMENT PLAN OF OTHER STATE AND GOVERNMENTAL
    UNITS OF OTHER STATES, TO THE EXTENT THOSE BENEFITS ARE EXEMPT UNDER THE LAWS
    OF THAT STATE OR GOVERNMENTAL UNIT. NCGS 1C-1601(a)(11). (No limit on amount.)

   Description


12. ALIMONY, SUPPORT, SEPARATION MAINTENANCE AND CHILD SUPPORT. NCGS 1C-1601(a)(12).
    (No limit on amount to the extent such payments are reasonably necessary for the support of debtor or dependent of
    debtor.)

   Description


13. ANY OTHER REAL OR PERSONAL PROPERTY WHICH DEBTOR DESIRES TO CLAIM AS EXEMPT
    THAT HAS NOT PREVIOUSLY BEEN CLAIMED ABOVE. NCGS 1C-1601(a)(2). (The amount claimed may
    not exceed the remaining amount available under paragraph 1(b) which has not been used for other exemptions.)

                                           Market          Lien                                           Net
   Description                             Value           Holder(s)         Amt. Lien                    Value



    (a) Total Net Value of property claimed in paragraph 13.                                         $
    (b) Total amount available from paragraph 1(b).                          $5,000.00
    (c) Less amounts available under paragraph 1(b) which were
        used in the following paragraphs:
                                       Paragraph 3(b)                    $      0.00
                                       Paragraph 4(b)                    $      0.00
                                       Paragraph 5(c)                    $      0.00

                                          Net Balance Available from paragraph 1(b)                   $ 5,000.00

                                                                   Total Net Exemption                $



14. OTHER EXEMPTIONS CLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

   Aid to the Aged, Disabled and Families with Dependent Children, NCGS 108A-36
   Aid to the Blind, NCGA 111-18
   Yearly Allowance for Surviving Spouse, NCGS 30-15
   North Carolina Local Government Employees Retirement Benefits, NCGS 128-31                        $
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   North Carolina Teachers and State Employees Retirement Benefits, NCGS 135-9
   Firemen’s and Rescue Workers’ Pensions, NCGS 58-86-90                                  $
   Workers Compensation Benefits, NCGS 97-21
   Unemployment Benefits, so long as not commingled and except for debts
       for necessities purchased while unemployed, NCGS 96-17
   Group Insurance Proceeds, NCGS 58-58-165
   Partnership Property, except on a claim against the partnership, NCGS 59-55
   Wages of a Debtor Necessary for Support of Family, NCGS 1-362
   Other
   TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                          $



15. EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY FEDERAL LAW:

  Foreign Service Retirement and Disability Payments, 22 U.S.C. § 4060
 Social Security Benefits, 42 U.S.C. § 407                                           $       1,141.00/month
  Injury of Death Compensation Payments from War Risk Hazards, 42 U.S.C. §1717
  Wages of Fishermen, Seamen and Apprentices, 46 U.S.C. §§ 11108,11109
  Civil Service Retirement Benefits, 5 U.S.C. §8346
  Longshoremen and Harbor Workers Compensation Act Death and Disability Benefits,
      33 U.S.C. § 916
  Railroad Retirement Act Annuities and Pensions 45 U.S.C. § 231m
  Veterans Benefits, 38 U.S.C. § 5301
  Special Pension Paid to Winners of Congressional Medal of Honor, 38 U.S.C. § 1562
  Other

   TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                          $




   DATE:       December 9, 2011                             /s/ Wayne Lester Stutts
                                                            Wayne Lester Stutts
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                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

In the Matter of:                                                 )
                                                                  )         Case No. 11-11728
        Wayne Lester Stutts and                                   )         Chapter 11
        Joyce A. Stutts,                                          )
                                                                  )         DEBTOR'S CLAIM FOR
                                                                  )         PROPERTY EXEMPTIONS
                                          Debtors.                )


I, Joyce A. Stutts, the undersigned debtor, hereby claim the following property as exempt pursuant to 11 U.S.C. §
522(b)(3)(A) and (B), the Laws of the State of North Carolina, and non-bankruptcy federal law.

                 Check if the debtor claims as exempt any amount of interest that exceeds $125,000 in value in property
                that the debtor or a dependent of the debtor uses as a residence.


1. REAL OR PERSONAL PROPERTY USED BY DEBTOR OR DEBTOR'S DEPENDENT AS RESIDENCE
   OR BURIAL PLOT. NCGS 1C-1601(a)(1).
   Select the appropriate exemption amount below:

    Total net value not to exceed $35,000.
    Total net value not to exceed $65,000. (Debtor is unmarried, 65 years of age or older, property was previously
   owned by debtor as tenant by the entireties or joint tenant with rights of survivorship, and former co-owner is
   deceased.)

      Description of             Market                                               Amt. Mtg.
                                                                                                           Net Value
      Property & Address         Value          Mtg. Holder or Lien Holder(s)         or Lien
      3703 Friendly Acres
      Dr., Greensboro, NC        $323,300.00    Wells Fargo                               475,000     $       0.00


                                 (a) Total                                                            $       0.00
                                 Net Value
                                                Total Net Exemption                                    $      0.00

                                 (b) Unused portion of exemption, not to exceed
                                 $5,000. [This amount, if any, may be carried
                                 forward and used to claim an exemption in any
                                 property owned by debtor. (NCGS 1C-
                                 1601(a)(2)}                                                          $5,000.00




2. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. §
522(b)(3)(B) and the laws of the State of North Carolina pertaining to property held as tenants by the entirety.

       Description of Property         Market         Mtg. Holder or Lien      Amt. Mtg. or
                    & Address           Value                  Holder(s)              Lien                    Net Value
                      Case 11-11728        Doc 48     Filed 12/09/11      Page 27 of 62


3. MOTOR VEHICLE. NCGS 1C-1601(a)(3). (Only one vehicle allowed under this paragraph with net value claimed
   as exempt not to exceed $3,500.)

     Model, Year Style of    Market
     Auto                    Value       Lien Holder(s)               Amount of Lien           Net Value
     2006 Cadillac DTX        $18,022.00 MidCarolina Bank                       700.00             17,322.00

                                                                      Debtor’s ½
                                                                      interest                           8,661.00

                             (a) Statutory allowance                                                $ 3,500.00
                             (b) Amount from 1(b) above to be used in this paragraph. (A
                             part or all of 1(b) may be used as needed.)                                 5,000.00
                                              Total Net Exemption                                   $    8,500.00



4. TOOLS OF TRADE, IMPLEMENTS, OR PROFESSIONAL BOOKS. NCGS 1C-1601(a)(5). (Used by debtor or
   debtor's dependent. Total net value of all items claimed as exempt not to exceed $2,000.)

                             Market                                   Amount of                         Net Value
     Description             Value          Lien Holder(s)            Lien




                             (a) Statutory allowance                                                            $
                             (b) Amount from 1(b) above to be used in this paragraph.
                             (A part or all of 1(b) may be used as needed.)
                                              Total Net Exemption                                               $



5. PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES NEEDED BY DEBTOR
   OR DEBTOR'S DEPENDENTS. NCGS 1C-1601(a)(4). (Debtor's aggregate interest, not to exceed $5,000 in value
   for the debtor plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents.)


  Description                         Market         Lien Holder(s)                     Amt. Lien        Net Value
  of Property                         Value
  Electronics                               900.00                                                            900.00
  Den/Living Room                           400.00                                                            400.00
  Master Bedroom                            200.00                                                            200.00
  Master Bath                                50.00                                                             50.00
  Study                                     200.00                                                            200.00
  Dining Room                               300.00                                                            300.00
  Kitchen                                   300.00                                                            300.00
  Den                                       200.00                                                            200.00
  Utility Room                            1300.00                                                           1,300.00
  Sunroom and Sauna                         175.00                                                            175.00
  Office                                    200.00                                                            200.00
  Patio                                     200.00                                                            200.00
                         Case 11-11728        Doc 48     Filed 12/09/11      Page 28 of 62

   Bedroom (2)                                400.00                                                            400.00
   Sitting Room                               200.00                                                            200.00
   3rd Floor                                  100.00                                                            100.00
   Clothing                                   400.00                                                            400.00
   Dog                                          5.00                                                              5.00
   Artwork, Rugs, Antiques,                 3,700.00                                                          3,700.00
   Silverware
                                                                                                Total         9,230.00

                                                                     ½ Debtors Interest                    4,615.00
   Jewelry – Wife                           6,500.00                                                       6,500.00
                                                       Total Net Value                                    11,115.00

                                 (a) Statutory allowance for debtor                            $ 5,000.00
                                 (b) Statutory allowance for debtor’s dependents:
                                 dependents at $1,000 each (not to exceed $4,000 total
                                 for dependents)                                                    $ 0.00
                                 (c) Amount from 1(b) above to be used in this
                                 paragraph. (A part or all of 1(b) may be used as
                                 needed.)                                                              0.00
                                               Total Net Exemption                             $   5,000.00


6. LIFE INSURANCE. (As provided in Article X, Section 5 of North Carolina Constitution.)

   Name of Insurance Company Great-West Life Assurance Company                 Policy No. 4230280
   Name of Insured    Joyce A. Stutts                                          Policy Date Pre 1998
   Name of Beneficiary

   Name of Insurance Company                                                   Policy No.
   Name of Insured                                                             Policy Date
   Name of Beneficiary


7. PROFESSIONALLY PRESCRIBED HEALTH AIDS (FOR DEBTOR OR DEBTOR'S DEPENDENTS).
   NCGS 1C-1601(a)(7). (No limit on value of number of items.)

   Description

   Oxygen tanks and supplies - Wife
   Sleep apnea supplies – Both Debtors


8. DEBTOR'S RIGHT TO RECEIVE FOLLOWING COMPENSATION: NCGS 1C-1601(a)(8). (No limit on
   number or amount.)

   A. $             Compensation for personal injury to debtor or to person whom debtor was dependent for support.
   B. $             Compensation for death of person of whom debtor was dependent for support.
   C. $             Compensation from private disability policies or annuities.


9. INDIVIDUAL RETIREMENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY
   PLAN TREATED IN THE SAME MANNER AS AN INDIVIDUAL RETIREMENT PLAN UNDER THE
   INTERNAL REVENUE CODE NCGS 1C-1601(a)(9). (No limit on number or amount.) AND OTHER
   RETIREMENT FUNDS DEFINED IN 11 U.S.C. § 522(b)(3)(c).
                           Case 11-11728         Doc 48      Filed 12/09/11       Page 29 of 62

   Detailed Description                                                                              Value


10. COLLEGE SAVINGS PLAN QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE.
    NCGS 1C-1601(a)(10). (Total net value not to exceed $25,000 and may not include any funds placed in a college
    saving plan within the preceding 12 months not in the ordinary course of the debtor’s financial affairs. This
    exemption applies only to the extent that the funds are for a child of the debtor and will actually be used for the child’s
    college or university expenses.)

   Detailed Description                                                                              Value

11. RETIREMENT BENEFITS UNDER A RETIREMENT PLAN OF OTHER STATE AND GOVERNMENTAL
    UNITS OF OTHER STATES, TO THE EXTENT THOSE BENEFITS ARE EXEMPT UNDER THE LAWS
    OF THAT STATE OR GOVERNMENTAL UNIT. NCGS 1C-1601(a)(11). (No limit on amount.)

   Description


12. ALIMONY, SUPPORT, SEPARATION MAINTENANCE AND CHILD SUPPORT. NCGS 1C-1601(a)(12).
    (No limit on amount to the extent such payments are reasonably necessary for the support of debtor or dependent of
    debtor.)

   Description


13. ANY OTHER REAL OR PERSONAL PROPERTY WHICH DEBTOR DESIRES TO CLAIM AS EXEMPT
    THAT HAS NOT PREVIOUSLY BEEN CLAIMED ABOVE. NCGS 1C-1601(a)(2). (The amount claimed may
    not exceed the remaining amount available under paragraph 1(b) which has not been used for other exemptions.)

                                           Market          Lien                                           Net
   Description                             Value           Holder(s)         Amt. Lien                    Value



    (a) Total Net Value of property claimed in paragraph 13.                                         $
    (b) Total amount available from paragraph 1(b).                          $5,000.00
    (c) Less amounts available under paragraph 1(b) which were
        used in the following paragraphs:
                                       Paragraph 3(b)                    $      0.00
                                       Paragraph 4(b)                    $      0.00
                                       Paragraph 5(c)                    $      0.00

                                          Net Balance Available from paragraph 1(b)                   $ 5,000.00

                                                                   Total Net Exemption                $



14. OTHER EXEMPTIONS CLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

   Aid to the Aged, Disabled and Families with Dependent Children, NCGS 108A-36
   Aid to the Blind, NCGA 111-18
   Yearly Allowance for Surviving Spouse, NCGS 30-15
   North Carolina Local Government Employees Retirement Benefits, NCGS 128-31                        $
   North Carolina Teachers and State Employees Retirement Benefits, NCGS 135-9
   Firemen’s and Rescue Workers’ Pensions, NCGS 58-86-90                                             $
   Workers Compensation Benefits, NCGS 97-21
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   Unemployment Benefits, so long as not commingled and except for debts
       for necessities purchased while unemployed, NCGS 96-17
   Group Insurance Proceeds, NCGS 58-58-165
   Partnership Property, except on a claim against the partnership, NCGS 59-55
   Wages of a Debtor Necessary for Support of Family, NCGS 1-362
   Other
   TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                           $



15. EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY FEDERAL LAW:

  Foreign Service Retirement and Disability Payments, 22 U.S.C. § 4060
 Social Security Benefits, 42 U.S.C. § 407                                            $    548.50/month
  Injury of Death Compensation Payments from War Risk Hazards, 42 U.S.C. §1717
  Wages of Fishermen, Seamen and Apprentices, 46 U.S.C. §§ 11108,11109
  Civil Service Retirement Benefits, 5 U.S.C. §8346
  Longshoremen and Harbor Workers Compensation Act Death and Disability Benefits,
      33 U.S.C. § 916
  Railroad Retirement Act Annuities and Pensions 45 U.S.C. § 231m
  Veterans Benefits, 38 U.S.C. § 5301
  Special Pension Paid to Winners of Congressional Medal of Honor, 38 U.S.C. § 1562
  Other

   TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                            $




   DATE:       December 9, 2011                               /s/ Joyce A. Stutts
                                                              Joyce A. Stutts
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  In re         Wayne Lester Stutts,                                                                                       Case No.      11-11728
                Joyce A. Stutts
                                                                                                              ,
                                                                                             Debtors
                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W            NATURE OF LIEN, AND                           I    Q   U                            PORTION, IF
                                                        T   J           DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C                  OF PROPERTY
                                                        R
                                                                             SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No.                                                     Residential Rental Property and/or Lot(s)                   E
                                                                See Attached Exhibit A.7                                    D

American Home Mortgage                                          Tax value listed
Acceptance, Inc.
Shapiro & Ingle, Substitute Trustee
                                                            J
10130 Perimeter Parkway, Ste. 400
Charlotte, NC 28216
                                                                Value $                            572,000.00                           400,000.00                         0.00
Account No.                                                     Residential Rental Property and/or
                                                                Lot(s)
Bank of America                                                 See attached Exhibit A.2
P.O. Box 15026                                                  Tax Value Listed
Wilmington, DE 19850-5026
                                                            J

                                                                Value $                                58,200.00                          73,056.63                14,856.63
Account No.                                                     Convenience Store Property
                                                                See Exhibit A.4
Bank of Oak Ridge                                               Tax Value Listed
PO Box 2
Oak Ridge, NC 27310
                                                            J

                                                                Value $                            195,400.00                           132,829.49                         0.00
Account No.                                                     First Mortgage

Chase Home Finance                                              Residential Rental Property and/or Lot(s)
PO Box 24696                                                    See attached Exhibit A.3
Columbus, OH 43224-4696                                         Tax Value Listed
                                                            J

                                                                Value $                            513,056.00                           312,000.00                         0.00
                                                                                                                    Subtotal
 3
_____ continuation sheets attached                                                                                                      917,886.12                 14,856.63
                                                                                                           (Total of this page)




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  In re         Wayne Lester Stutts,                                                                                       Case No.     11-11728
                Joyce A. Stutts
                                                                                                              ,
                                                                                             Debtors

                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                              O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT        UNSECURED
                                                            W               NATURE OF LIEN, AND                                                        PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                       I    Q   U
                                                                                                                                       DEDUCTING
                                                        T   J                                                          N    U   T                         ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                            G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No.                                                     Mortgage                                                    E
                                                                                                                            D

First Horizon Home Loan Corp.                                 For Notice only
Nationstar Mortgage                                           Residential Rental Property
350 Highland Drive                                            See Exhibit A.7
                                                            J Tax Value Listed
Lewisville, TX 75067

                                                                Value $                                     0.00                              0.00                   0.00
Account No.                                                     Deed of Trust $3,509.28; Book 3546
                                                                Page 994; Rental Properties
John R. Eiseman and
Molly W. Eiseman
c/o James B. Weeks
                                                            J                                                                   X
119 N. Greene St., Ste. 100
Greensboro, NC 27401
                                                                Value $                                59,200.00                              0.00                   0.00
Account No.                                                     2006 Cadillac DTX
                                                                42,000 miles; NADA value listed
MidCarolina Bank                                                Personal use
3101 South Church Street
Burlington, NC 27215
                                                            J

                                                                Value $                                18,022.00                           700.00                    0.00
Account No.                                                     First Mortgage

MidCarolina Bank                                              Residential Rental Property and/or
3101 South Church Street                                      Lot(s)
Burlington, NC 27215                                          See attached Exhibit A.1
                                                            J Tax Value Listed

                                                                Value $                            455,800.00                           285,000.00                   0.00
Account No.                                                     Deed of Trust

Nationstar Mortgage                                             Residential Rental Property
350 Highland Drive                                              See Exhibit A.6
Lewisville, TX 75067                                            Tax Value Listed
                                                            J

                                                                Value $                                87,000.00                         86,997.66                   0.00
       1
Sheet _____    3
            of _____  continuation sheets attached to                                                               Subtotal
                                                                                                                                        372,697.66                   0.00
Schedule of Creditors Holding Secured Claims                                                               (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




  In re         Wayne Lester Stutts,                                                                                    Case No.     11-11728
                Joyce A. Stutts
                                                                                                           ,
                                                                                             Debtors

                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                           O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                  N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                           T    I   P       WITHOUT        UNSECURED
                                                            W               NATURE OF LIEN, AND                                                     PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                    I    Q   U
                                                                                                                                    DEDUCTING
                                                        T   J                                                       N    U   T                         ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                         G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                      E    D   D     COLLATERAL
                                                                                                                    N    A
                                                                                                                    T    T
Account No.                                                     Deed of Trust                                            E
                                                                                                                         D

Paul A. Summers                                               Deed of Trust - $24,304.50; Lot 126,
Unknown                                                       Block K Pomona Village, Book 3553
                                                              Page 1514 Address is: 806 Aladdin St.,
                                                            J Greensboro, NC                                                 X

                                                                Value $                                  0.00                              0.00                   0.00
Account No.                                                     Deed of Trust

T&T Enterprises                                                 Deed of Trust - $10,000; Lots 253-256
Unknown                                                         Woodlawn Park S/D; Book 3590 Page
                                                                595; 700 Cole Street, Greensboro, NC
                                                            J                                                                X

                                                                Value $                                  0.00                              0.00                   0.00
Account No. 8319                                                For Notice Only
                                                                Collection for Bank of America Loan
Trustee Services of Carolina, LLC                               #9901
c/o Brock & Scott, PLLC
5431 Oleander Drive
                                                            W
Wilmington, NC 28403

                                                                Value $                                  0.00                              0.00                   0.00
Account No.                                                     Personal Use Property
                                                                1107 E. Beach
Wells Fargo Home Mortgage                                       Oak Island, NC
PO Box 10335                                                    Tax value shown
Des Moines, IA 50306
                                                            J

                                                                Value $                            331,480.00                        648,485.00         317,005.00
Account No.                                                     Residence and Lot
                                                                Location: 3703 Friendly Acres Dr.,
Wells Fargo Home Mortgage                                       Greensboro NC
PO Box 10335                                                    Tax value listed
Des Moines, IA 50306
                                                            J

                                                                Value $                            323,300.00                        475,000.00         151,700.00
       2
Sheet _____    3
            of _____  continuation sheets attached to                                                            Subtotal
                                                                                                                                   1,123,485.00         468,705.00
Schedule of Creditors Holding Secured Claims                                                            (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




  In re         Wayne Lester Stutts,                                                                                     Case No.     11-11728
                Joyce A. Stutts
                                                                                                            ,
                                                                                             Debtors

                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                            O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                            T    I   P       WITHOUT        UNSECURED
                                                            W               NATURE OF LIEN, AND                                                      PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                     I    Q   U
                                                                                                                                     DEDUCTING
                                                        T   J                                                        N    U   T                         ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                          G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                     N    A
                                                                                                                     T    T
Account No.                                                     Mortgage                                                  E
                                                                                                                          D

Wells Fargo Home Mortgage                                       Residential Rental Property and/or Lot(s)
PO Box 10335                                                    See Attached Exhibit A.5
Des Moines, IA 50306                                            Tax Value Listed
                                                            J

                                                                Value $                          2,020,300.00                       1,750,000.00                   0.00
Account No.                                                     Deed of Trust

William H. Porterfield                                          Deed of Trust - $6,000; 305 East
Unknown                                                         Bessemer Ave. Book 3539 Page 1203

                                                            J                                                                 X

                                                                Value $                                   0.00                              0.00                   0.00
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
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Sheet _____    3
            of _____  continuation sheets attached to                                                             Subtotal
                                                                                                                                    1,750,000.00                   0.00
Schedule of Creditors Holding Secured Claims                                                             (Total of this page)
                                                                                                                     Total          4,164,068.78         483,561.63
                                                                                           (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/10)


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 In re         Wayne Lester Stutts,                                                                                               Case No.            11-11728
               Joyce A. Stutts
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            4         continuation sheets attached
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                                         Case 11-11728                    Doc 48          Filed 12/09/11        Page 36 of 62
 B6E (Official Form 6E) (4/10) - Cont.




  In re         Wayne Lester Stutts,                                                                                    Case No.      11-11728
                Joyce A. Stutts
                                                                                                           ,
                                                                                             Debtors
                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                                                                             Deposits by individuals
                                                                                                                                 TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                      C    U   D
            CREDITOR'S NAME,                            O                                                           O    N   I                      AMOUNT NOT
                                                        D                                                           N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                    OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                       N    U   T                                AMOUNT
                                                        O                                                           G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                       E    D   D
                                                                                                                    N    A
                                                                                                                                                              PRIORITY
                                                                                                                    T    T
Account No.                                                     Lease on rental property at above                        E
                                                                address for potential security deposit                   D

Antonio Pratt                                                   claim
806 Aladdin Street                                                                                                                                  575.00
Greensboro, NC 27407
                                                            J                                                       X X X

                                                                                                                                          575.00                    0.00
Account No.                                                     Lease on rental property at above
                                                                address for potential security deposit
Daniel Schoultz                                                 claim
2604 Brim Road                                                                                                                                      0.00
Greensboro, NC 27405
                                                            J                                                       X X X

                                                                                                                                            0.00                    0.00
Account No.                                                     Lease on rental property at above
                                                                address for potential security deposit
James M. Speight                                                claim
409 Wooddale Lane                                                                                                                                   700.00
Greensboro, NC 27405
                                                            J                                                       X X X

                                                                                                                                          700.00                    0.00
Account No.                                                     Lease on rental property at above
                                                                address for potential security deposit
James Speight                                                   claim
Malachi House II                                                                                                                                    600.00
3724 Central Avenue
                                                            J                                                       X X X
Greensboro, NC 27401

                                                                                                                                          600.00                    0.00
Account No.                                                     Lease on rental property at above
                                                                address for potential security deposit
Jennett Rivera                                                  claim
1310 Mayfair Avenue                                                                                                                                 675.00
Greensboro, NC 27405
                                                            J                                                       X X X

                                                                                                                                          675.00                    0.00
       1
Sheet _____    4
            of _____  continuation sheets attached to                                                            Subtotal                           2,550.00
Schedule of Creditors Holding Unsecured Priority Claims                                                 (Total of this page)            2,550.00                    0.00




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 B6E (Official Form 6E) (4/10) - Cont.




  In re         Wayne Lester Stutts,                                                                                    Case No.      11-11728
                Joyce A. Stutts
                                                                                                           ,
                                                                                             Debtors
                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                                                                             Deposits by individuals
                                                                                                                                 TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                      C    U   D
            CREDITOR'S NAME,                            O                                                           O    N   I                      AMOUNT NOT
                                                        D                                                           N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                    OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                       N    U   T                                AMOUNT
                                                        O                                                           G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                       E    D   D
                                                                                                                    N    A
                                                                                                                                                              PRIORITY
                                                                                                                    T    T
Account No.                                                     Lease on rental property at above                        E
                                                                address for potential security deposit                   D

Jeromoe Cook                                                    claim
3816 Central Avenue                                                                                                                                 400.00
Greensboro, NC 27401
                                                            J                                                       X X X

                                                                                                                                          400.00                    0.00
Account No.                                                     Lease on rental property at above
                                                                address for potential security deposit
Larry Anderson                                                  claim
3618 Martin Avenue                                                                                                                                  0.00
Greensboro, NC 27405
                                                            J                                                       X X X

                                                                                                                                            0.00                    0.00
Account No.                                                     Lease on rental property at above
                                                                address for potential security deposit
Shemika R. Lineberger                                           claim
2503 E. Bessemer Avenue                                                                                                                             650.00
Greensboro, NC 27405
                                                            J                                                       X X X

                                                                                                                                          650.00                    0.00
Account No.                                                     Lease on rental property at above
                                                                address for potential security deposit
Toni L. Reese                                                   claim
3816 Central Avenue                                                                                                                                 500.00
Greensboro, NC 27401
                                                            J                                                       X X X

                                                                                                                                          500.00                    0.00
Account No.




       2
Sheet _____    4
            of _____  continuation sheets attached to                                                            Subtotal                           1,550.00
Schedule of Creditors Holding Unsecured Priority Claims                                                 (Total of this page)            1,550.00                    0.00




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 B6E (Official Form 6E) (4/10) - Cont.




  In re         Wayne Lester Stutts,                                                                                    Case No.      11-11728
                Joyce A. Stutts
                                                                                                           ,
                                                                                             Debtors
                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                    Taxes and Certain Other Debts
                                                                                                                     Owed to Governmental Units
                                                                                                                                 TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                      C    U   D
            CREDITOR'S NAME,                            O                                                           O    N   I                      AMOUNT NOT
                                                        D                                                           N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                    OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                       N    U   T                                AMOUNT
                                                        O                                                           G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                       E    D   D
                                                                                                                    N    A
                                                                                                                                                              PRIORITY
                                                                                                                    T    T
Account No.                                                     For notice only                                          E
                                                                                                                         D

Brunswick County Tax Adminstration
PO Box 269                                                                                                                                          0.00
Bolivia, NC 28422
                                                            J

                                                                                                                                            0.00                    0.00
Account No.                                                     For notice only

Employment Security Commission
PO Box 26504                                                                                                                                        0.00
Raleigh, NC 27611
                                                            J

                                                                                                                                            0.00                    0.00
Account No.                                                     Real property taxes
                                                                Multiple rental properties
Guilford County Tax
P.O. Box 3328                                                                                                                                       2,581.08
Greensboro, NC 27402-3328
                                                            J

                                                                                                                                        2,581.08                    0.00
Account No.                                                     For notice only

Internal Revenue Service
Centralized Insolvency                                                                                                                              0.00
PO Box 7346
                                                            J
Philadelphia, PA 19101-7346

                                                                                                                                            0.00                    0.00
Account No.                                                     For notice only

NC Dept of Revenue
PO Box 1168                                                                                                                                         0.00
Raleigh, NC 27602
                                                            J

                                                                                                                                            0.00                    0.00
       3
Sheet _____    4
            of _____  continuation sheets attached to                                                            Subtotal                           2,581.08
Schedule of Creditors Holding Unsecured Priority Claims                                                 (Total of this page)            2,581.08                    0.00




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 B6E (Official Form 6E) (4/10) - Cont.




  In re         Wayne Lester Stutts,                                                                                     Case No.      11-11728
                Joyce A. Stutts
                                                                                                            ,
                                                                                             Debtors
                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No.                                                     For notice only                                           E
                                                                                                                          D

Randolph County Taxes
725 McDowell Road                                                                                                                                    0.00
Asheboro, NC 27203
                                                            J

                                                                                                                                             0.00                    0.00
Account No.                                                     Real Property Taxes

Rockingham County Tax Department
371 NC Hwy 65, Ste 107                                                                                                                               0.00
Wentworth, NC 27375
                                                            J

                                                                                                                                           113.31                113.31
Account No.




Account No.




Account No.




       4
Sheet _____    4
            of _____  continuation sheets attached to                                                             Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)              113.31                113.31
                                                                                                                     Total                           6,681.08
                                                                                           (Report on Summary of Schedules)              6,794.39                113.31

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 B6F (Official Form 6F) (12/07)


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  In re         Wayne Lester Stutts,                                                                                     Case No.         11-11728
                Joyce A. Stutts
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                   Potential deficiency claims related to multiple               T   T
                                                                                                                                                E
                                                                              foreclosed properties; Debtors estimate as to                     D

American Home Mortgage                                                        claim amount
Acceptance, Inc.                                                          J                                                                 X X X
Shapiro & Ingle, Substitute Trustee
10130 Perimeter Parkway, Ste. 400
Charlotte, NC 28216                                                                                                                                                  10,000.00
Account No. 0996                                                              Credit Card

Bank of America
P.O. Box 15026                                                            H
Wilmington, DE 19850-5026

                                                                                                                                                                     22,017.36
Account No.                                                                 Construction Deed of Trust - $40,000; Lot 5 of
                                                                            the Mrs. Sophia G. Neale Property...Book 4722
Bill F. Wright                                                              Page 599; Debtors no longer own this property
Unknown                                                                   J - sold 10/15/98;                                                        X



                                                                                                                                                                             0.00
Account No. 3796                                                              Southwest Rapid Rewards Credit Card

Chase Card Services
PO Box 15298                                                              H
Wilmington, DE 19850-5298

                                                                                                                                                                     14,462.68

                                                                                                                                        Subtotal
 2
_____ continuation sheets attached                                                                                                                                   46,480.04
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Wayne Lester Stutts,                                                                                  Case No.     11-11728
                Joyce A. Stutts
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                         C   U   D
                  CREDITOR'S NAME,                                   O                                                               O   N   I
                  MAILING ADDRESS                                    D    H                                                          N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                    T   I   P
                                                                     B                                                               I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                G   I   E
                 (See instructions above.)                           R                                                               E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. 7639                                                              Merchants Tire credit card; Debtors estimate               E
                                                                              as to claim amount                                         D

Citi Card
PO Box 6500                                                               H                                                          X X X
Sioux Falls, SD 57117

                                                                                                                                                               500.00
Account No.                                                                   Business related debt

Home Depot Credit Services
PO Box 653000                                                             J
Dallas, TX 75265-3000

                                                                                                                                                             4,000.00
Account No.                                                                   Deed of Trust - $4,000; 1702 Rainbow Drive;
                                                                              Book 4096 Page 1694, Debtors no longer own
Jerry W. Hilliard and Ann S. Hilliard                                         property, foreclosure on 7/20/11
Unknown                                                                   J                                                                  X



                                                                                                                                                                   0.00
Account No.                                                                   Deed of Trust - $3,000; 1921 Perkins St. Book
                                                                              3575 page 1424; Debtors no longer own this
John Williamson                                                               property, sold 4/20/92
Unknown                                                                   J                                                                  X



                                                                                                                                                                   0.00
Account No.                                                                   Business related debt

Lee Jones
Lee's Plumbing Heating & Air                                              H
Conditionin
5405 N. Church St.
Greensboro, NC 27455                                                                                                                                         7,000.00

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                           11,500.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Wayne Lester Stutts,                                                                                     Case No.      11-11728
                Joyce A. Stutts
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. 0601                                                              Business loan of Wayne L. Stutts Builder, Inc.;                E
                                                                              Debtor(s) may have personal guaranties                         D

Newbridge Bank
PO Box 867                                                                J
Lexington, NC 27293-0867

                                                                                                                                                               50,913.09
Account No.                                                                   Business related debt

ProBuild
2410 Binford Street                                                       H
Greensboro, NC 27407

                                                                                                                                                                 1,500.00
Account No. 2289                                                              Visa Credit Card

RBC Bank
PO Box 2857                                                               H
Rocky Mount, NC 27802-2857

                                                                                                                                                               12,406.95
Account No.                                                                   Lines of credit on multiple properties

Wells Fargo Bank, N.A.
PO Box 4233                                                               J                                                              X X X
Portland, OR 97208-4233

                                                                                                                                                               90,182.51
Account No.




           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                             155,002.55
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)              212,982.59


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B6G (Official Form 6G) (12/07)


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 In re             Wayne Lester Stutts,                                                                        Case No.        11-11728
                   Joyce A. Stutts
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    Antonio Pratt                                                       Lease on rental property at above address for
                    806 Aladdin Street                                                  potential security deposit claim, lease ends
                    Greensboro, NC 27407                                                5/31/12

                    Daniel Schoultz                                                     Lease on rental property at above address for
                    2604 Brim Road                                                      potential security deposit claim, lease ends
                    Greensboro, NC 27405                                                12/31/2012

                    James M. Speight                                                    Lease on rental property at above address for
                    Malachi House II                                                    potential security deposit claim, lease ends
                    409 Wooddale Avenue                                                 1/31/2011
                    Greensboro, NC 27405

                    James Speight                                                       Lease on rental property at above address for
                    Malachi House II                                                    potential security deposit claim, lease ends
                    3724 Central Avenue                                                 2/28/2012
                    Greensboro, NC 27401

                    Jennett Rivera                                                      Lease on rental property at above address for
                    1310 Mayfair Avenue                                                 potential security deposit claim, lease ends
                    Greensboro, NC 27405                                                6/30/2012

                    Jerome Cook                                                         Lease on rental property at above address for
                    3816 Central Avenue                                                 potential security deposit claim, lease ends
                    Greensboro, NC 27401                                                2/28/2012

                    Larry Anderson                                                      Lease on rental property at above address for
                    3618 Martin Avenue                                                  potential security deposit claim, lease ends
                    Greensboro, NC 27405                                                2/28/2012

                    Shemika R. Lineberger                                               Lease on rental property at above address for
                    2503 E Bessemer Avenue                                              potential security deposit claim, lease ends
                    Greensboro, NC 27405                                                2/28/2012

                    SiriusXM                                                            45.95/month
                    1221 Avenue of the Americas
                    New York, NY 10020

                    Toni L. Reese                                                       Lease on rental property at above address for
                    3816 Central Avenue                                                 potential security deposit claim, lease ends
                    Greensboro, NC 27401                                                1/31/2012

                    True Green                                                          Lawn service
                    4220 Beechwood Drive
                    Greensboro, NC 27410




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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 In re          Wayne Lester Stutts,                                                                    Case No.       11-11728
                Joyce A. Stutts
                                                                                               ,
                                                                                   Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR




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              continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)
          Wayne Lester Stutts
 In re    Joyce A. Stutts                                                                               Case No.       11-11728
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                None.

Employment:                                           DEBTOR                                                       SPOUSE
Occupation                           Contractor surveyor property mgr
Name of Employer                     Self-employed                                           N/A
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            0.00
2. Estimate monthly overtime                                                                             $          0.00          $            0.00

3. SUBTOTAL                                                                                              $              0.00      $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $              0.00      $             0.00
     b. Insurance                                                                                        $              0.00      $             0.00
     c. Union dues                                                                                       $              0.00      $             0.00
     d. Other (Specify):                                                                                 $              0.00      $             0.00
                                                                                                         $              0.00      $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $              0.00      $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $              0.00      $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $         3,000.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $              0.00      $             0.00
11. Social security or government assistance
(Specify):           Social Security                                                                     $         1,141.00       $          548.50
                                                                                                         $             0.00       $            0.00
12. Pension or retirement income                                                                         $             0.00       $          308.33
13. Other monthly income
(Specify):                                                                                               $              0.00      $             0.00
                                                                                                         $              0.00      $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         4,141.00       $          856.83

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         4,141.00       $          856.83

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            4,997.83
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Income derived from rental property fluctuates due to lack of tenants and potential sale of rental units
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B6J (Official Form 6J) (12/07)
          Wayne Lester Stutts
 In re    Joyce A. Stutts                                                                     Case No.    11-11728
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,212.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   405.00
                   b. Water and sewer                                                                       $                    35.00
                   c. Telephone                                                                             $                    50.00
                   d. Other See Detailed Expense Attachment                                                 $                   280.00
3. Home maintenance (repairs and upkeep)                                                                    $                   100.00
4. Food                                                                                                     $                   500.00
5. Clothing                                                                                                 $                   100.00
6. Laundry and dry cleaning                                                                                 $                    25.00
7. Medical and dental expenses                                                                              $                   600.00
8. Transportation (not including car payments)                                                              $                   110.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    90.00
10. Charitable contributions                                                                                $                   300.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                   141.66
                   b. Life                                                                                  $                   575.00
                   c. Health                                                                                $                   152.75
                   d. Auto                                                                                  $                    73.32
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) See Detailed Expense Attachment                                                   $                  425.93
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   510.33
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                    50.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 5,735.99
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      Female Debtor's medical expenses fluctuate depending on medication for any given month.
      Male Debtor's medical expenses may increase due to potential health issues in near future.
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 4,997.83
b. Average monthly expenses from Line 18 above                                                              $                 5,735.99
c. Monthly net income (a. minus b.)                                                                         $                  -738.16
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B6J (Official Form 6J) (12/07)
          Wayne Lester Stutts
 In re    Joyce A. Stutts                                                            Case No.   11-11728
                                                              Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                 Detailed Expense Attachment
Other Utility Expenditures:
Cable/Internet                                                                                  $          180.00
Cell Phone                                                                                      $          100.00
Total Other Utility Expenditures                                                                $          280.00


Specific Tax Expenditures:
Real Property - residence                                                                       $          381.19
Personal Property - three vehicles                                                              $           44.74
Total Tax Expenditures                                                                          $          425.93
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                                                           United States Bankruptcy Court
                                                               Middle District of North Carolina
            Wayne Lester Stutts
 In re      Joyce A. Stutts                                                                                      Case No.   11-11728
                                                                                Debtor(s)                        Chapter    11



                                                BUSINESS INCOME AND EXPENSES
                                                         SEE ATTACHED EXHIBIT 2
         FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                     $               0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income                                                                                               $                   0.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                                        $               0.00
          4. Payroll Taxes                                                                                                   0.00
          5. Unemployment Taxes                                                                                              0.00
          6. Worker's Compensation                                                                                           0.00
          7. Other Taxes                                                                                                     0.00
          8. Inventory Purchases (Including raw materials)                                                                   0.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                          0.00
          10. Rent (Other than debtor's principal residence)                                                                 0.00
          11. Utilities                                                                                                      0.00
          12. Office Expenses and Supplies                                                                                   0.00
          13. Repairs and Maintenance                                                                                        0.00
          14. Vehicle Expenses                                                                                               0.00
          15. Travel and Entertainment                                                                                       0.00
          16. Equipment Rental and Leases                                                                                    0.00
          17. Legal/Accounting/Other Professional Fees                                                                       0.00
          18. Insurance                                                                                                      0.00
          19. Employee Benefits (e.g., pension, medical, etc.)                                                               0.00
          20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                  DESCRIPTION                                                                     TOTAL

          21. Other (Specify):

                  DESCRIPTION                                                                     TOTAL

          22. Total Monthly Expenses (Add items 3-21)                                                                           $                   0.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
          23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                         $                   0.00




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                                               WAYNE L. STUTTS and JOYCE A. STUTTS
                                              TOTAL BUDGET FOR NEXT THREE MONTHS
INCOME                                                     DECEMBER           JANUARY            FEBURARY
                                                          Monthly Rental Monthly Rental         Monthly Rental
                              Lender                         Income            Income              Income

         MidCarolina                                      $           2,050   $        2,050    $         2,050
         Bank of America                                  $             600   $          600    $           600
         JP Morgan Chase                                  $           2,200   $        2,200    $         2,200
         Bank of Oak Ridge                                $           2,000   $        2,000    $         2,000
         Wells Fargo                                      $          11,798   $       11,798    $        11,798
         AHMA                                             $           1,700   $        1,700    $         1,700
         Total Monthly Income                             $       20,348.00   $    20,348.00    $     20,348.00
                                                                                                                        Case 11-11728




EXPENSES

                              Expense                    Monthly Expense      Monthly Expense   Monthly Expense
         Insurance                                     * $      1,385.34      $     1,385.34    $      1,385.34
                                                                                                                        Doc 48




         Guilford County Property Taxes                * $      3,724.00      $     3,724.00    $      3,724.00
         Maintenance                                     $      3,500.00      $     3,500.00    $      3,500.00
         Cell Phone                                      $        107.12      $        107.12   $        107.12
         Office Supplies                                 $        150.00      $        150.00   $        150.00
         Salary for Property Manager                     $      1,760.00      $     1,760.00    $      1,760.00
         Salary for Repair Technician                    $      1,100.00      $     1,100.00    $      1,100.00
         Salary to Owner - Wayne L. Stutts               $      3,000.00      $     3,000.00    $      3,000.00
                                                                                                                        Filed 12/09/11




         Utilities                                       $        351.76      $        351.76   $        351.76
         Mileage Reimbursement                           $        550.00      $        550.00   $        550.00
         Court Costs                                   † $        750.00      $        750.00   $        750.00
         Storage Unit                                    $         53.50      $         53.50   $         53.50
         Total Monthly Expenses                          $     16,431.72      $    16,431.72    $     16,431.72

PROFIT MARGIN
                                                                                                                        Page 49 of 62




       Total Monthly Margin                               $        3,916.28 $       3,916.28 $         3,916.28
                                                                                                                  EXHIBIT 2




PROPOSED ADEQUATE PROTECTION PAYMENTS
        Bank of America                                     $          243.52 $       243.52 $           243.52
        Total Monthly Adequate Protection Payments          $          243.52 $       243.52 $           243.52
REMAINING BALANCE                                           $        3,672.76 $     3,672.76 $         3,672.76
* Represents amount of accrued necessary
† Based on an average of 3 Evictions performed monthly, at $250 per eviction
                                                                                                                  Business Income and Expense
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                             Middle District of North Carolina
            Wayne Lester Stutts
 In re      Joyce A. Stutts                                                                                   Case No.   11-11728
                                                                                   Debtor(s)                  Chapter    11




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of            47
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date December 9, 2011                                                 Signature    /s/ Wayne Lester Stutts
                                                                                    Wayne Lester Stutts
                                                                                    Debtor


 Date December 9, 2011                                                 Signature    /s/ Joyce A. Stutts
                                                                                    Joyce A. Stutts
                                                                                    Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                             Middle District of North Carolina
             Wayne Lester Stutts
 In re       Joyce A. Stutts                                                                                   Case No.       11-11728
                                                                                Debtor(s)                      Chapter        11


                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $-441,555.00                      2009: Both AGI - Income Tax Return
                          $21,976.13                        2011 Both, Social Security and Pension income
                          $21,976.13                        2010 Both, Social Security and Pension Income




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                                                                                                                                                             2

              2. Income other than from employment or operation of business

     None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
              each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
              petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        AMOUNT                              SOURCE

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                    DATES OF                                                       AMOUNT STILL
       OF CREDITOR                                                      PAYMENTS                             AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                        TRANSFERS                               TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                         DATE OF PAYMENT                      AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                    NATURE OF         COURT OR AGENCY                                 STATUS OR
    AND CASE NUMBER                                                    PROCEEDING        AND LOCATION                                    DISPOSITION
    See attached Exhibit B7.4.a

     None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

    NAME AND ADDRESS OF PERSON FOR WHOSE                                                    DESCRIPTION AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                                     DATE OF SEIZURE             PROPERTY



*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                                                                                                                                           3

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                 PROPERTY
See attached Exhibit B7.5



             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                    TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT             VALUE OF GIFT

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                  LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                           BY INSURANCE, GIVE PARTICULARS                       DATE OF LOSS




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                                                                                                                                                             4

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                         OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                     OF PROPERTY
Ivey, McClellan, Gatton & Talcott                                      11/8/11                                       $20,000 retainer; Pre-petition
100 S Elm St, Ste 500                                                                                                statement and receipt of funds
Greensboro, NC 27401                                                                                                 $13,661; Retainer balance
                                                                                                                     $6,339.00

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY
RBC Bank                                              Debtors                                   Important papers and
                                                                                                cash

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


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                                                                                                                                                           5


NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                 LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                     DATES OF OCCUPANCY

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION




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                                                                                                                                                             6

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES
Wayne L. Stutts                 XX-XXXXXXX                       3703 Friendly Acres Dr.        Residential                      1/19/2001 - Present
Builder, Inc.                                                    Greensboro, NC 27410           Construction
Wayne L. Stutts                 XX-XXXXXXX                       3703 Friendly Acres Dr.        Residential rental and           3/22/2005 - present
Rentals, LLC                                                     Greensboro, NC 27410           property management

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED
Wayne Lester Stutts
3703 Friendly Acres Dr.
Greensboro, NC 27410
William H. Porterfield
PO Box 9498
Greensboro, NC 27429

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.


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                                                                                                                                                              7


NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED
Miscellaneous lenders pertaining to                                                            2009 - 2011
modification of loans on rental property

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY




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                                                                                                                                                                   8

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)


                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date December 9, 2011                                                  Signature    /s/ Wayne Lester Stutts
                                                                                    Wayne Lester Stutts
                                                                                    Debtor


Date December 9, 2011                                                  Signature    /s/ Joyce A. Stutts
                                                                                    Joyce A. Stutts
                                                                                    Joint Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                                    EXHIBIT B7.4.a

                                        EXHIBIT B7.4.a
                            WAYNE LESTER STUTTS AND JOYCE A. STUTTS
                                  FORECLOSURE PROCEEDINGS

  Case Number            PROPERTY               COUNTY            Mortgage Holder

11sp2506        806 Aladdin Street              Guilford     Wells Fargo
11sp958         305-A E. Bessemer               Guilford     Amer. Home Mortgage
11sp958         305-B E. Bessemer               Guilford
11sp958         305-C E. Bessemer               Guilford
11sp2487        2604 Brim Road                  Guilford     Wells Fargo
11sp2487        2606 Brim Road                  Guilford     Wells Fargo
11sp4686        2608 Brim Road                  Guilford     Wells Fargo
11sp4686        2610 Brim Road                  Guilford     Wells Fargo
11sp2441        2612 Brim Road                  Guilford     Wells Fargo
11sp2441        2614 Brim Road                  Guilford     Wells Fargo
11sp2482        2616 Brim Road                  Guilford     Wells Fargo
11sp2482        2618 Brim Road                  Guilford     Wells Fargo
11sp            3724 Central                    Guilford     Wells Fargo
11sp            3814-A Central                  Guilford     Amer. Home Mortgage
11sp2498        3816 Central                    Guilford     Wells Fargo
11sp2485        700 Cole Street                 Guilford     Wells Fargo
11sp2480        3527 Fiesta Dr.                 Guilford     Wells Fargo
11sp2479        2217 W. Florida St.             Guilford     Wells Fargo
11sp            5800 Harvest Hill               Guilford
11 sp 3662      5802 Harvest Hill               Guilford     US Bank
11sp2442        1301 Hickory                    Guilford     Wells Fargo
11sp2466        1400 Kingston Rd.               Guilford     Wells Fargo
11sp2439        3618 Martin                     Guilford     Wells Fargo
11sp2494        1712 Ryan St.                   Guilford     Wells Fargo
11sp2435        908 W. Terrell St.              Guilford     Wells Fargo
11sp2467        4109 Wooddale Ln.               Guilford     Wells Fargo
11sp2497        4110 Wooddale Ln.               Guilford     Wells Fargo
11sp2468        2503 E. Bessemer                Guilford     Wells Fargo
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                                                                                                           EXHIBIT B7.5
                                                       EXHIBIT B7.5
                                         WAYNE LESTER STUTTS AND JOYCE A. STUTTS

        PROPERTY          COUNTY        Mortgage holder      Case Number     Foreclosure       Initial Loan    Sale amount
                                                                                Date            Amount
2315 Floyd St.          Guilford   American Home Mortgage      11 SP 957        4/27/2011            105,600        86,250
Greensboro, NC                     Acceptance, Inc.

2505 E. Bessemer Ave.   Guilford   American Home Mortgage      11 SP 1728           9/8/2011       104,500          52,500
Greensboro                         Acceptance, Inc.

103 Millilkin St.       Guilford   American Home Mortgage      11 SP 1499          7/21/2011         78,400         26,100
Greensboro                         Acceptance, Inc.

2236 Bradley St.        Guilford   American Home Mortgage      11 SP 953           6/15/2011         74,000         26,802
Greensboro                         Acceptance, Inc.

3107 Immanuel Rd,       Guilford   American Home Mortgage      11 SP 956            9/9/2011         55,200         17,251
Greensboro                         Acceptance, Inc.

1702 Rainbow Dr.        Guilford   American Home Mortgage      11 SP 943            7/7/2011         90,000         95,000
Greensboro                         Acceptance, Inc.

3939 A & B Overland     Guilford   American Home Mortgage      11 SP 992           6/13/2011       107,500          52,500
Heights Greensboro                 Acceptance, Inc.

101-A Millikin St.      Guilford   American Home Mortgage      11 SP 955           6/13/2011         88,000        103,182
Greensboro                         Acceptance, Inc.

1211 Park Ave.,         Guilford   American Home Mortgage      11 SP 954           6/13/2011       110,000         129,091
Greensboro                         Acceptance, Inc.

2210 Britton St.,       Guilford   American Home Mortgage      11 SP 952           6/13/2011         74,000         17,500
Greensboro                         Acceptance, Inc.

2827 Camborne St.,      Guilford   American Home Mortgage      11 SP 1306          6/10/2011         80,000         83,298
Greensboro                         Acceptance, Inc.

4107 Woodale Lane       Guilford   American Home Mortgage      11 SP 951           4/13/2011         74,000         20,010
Greensboro                         Acceptance, Inc.

1901 A&B Merritt Dr.    Guilford   American Home Mortgage      11 SP 1305          5/11/2011       107,500          15,500
Greensboro                         Acceptance, Inc.
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B22B (Official Form 22B) (Chapter 11) (12/10)
        Wayne Lester Stutts
In re   Joyce A. Stutts
                         Debtor(s)
Case Number:    11-11728
                           (If known)


                             CHAPTER 11 STATEMENT OF CURRENT MONTHLY INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 11 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.

                                      Part I. CALCULATION OF CURRENT MONTHLY INCOME
            Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
            a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
     1
            b.   Married, not filing jointly. Complete only column A ("Debtor's Income") for Lines 2-10.
            c.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
            All figures must reflect average monthly income received from all sources, derived during the six Column A        Column B
            calendar months prior to filing the bankruptcy case, ending on the last day of the month before
            the filing. If the amount of monthly income varied during the six months, you must divide the     Debtor's        Spouse's
            six-month total by six, and enter the result on the appropriate line.                              Income          Income

     2      Gross wages, salary, tips, bonuses, overtime, commissions.                                           $             0.00 $                0.00
            Net income from the operation of a business, profession, or farm. Subtract Line b from Line a
            and enter the difference in the appropriate column(s) of Line 3. If more than one business
            profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
            number less than zero.
     3
                                                                        Debtor                 Spouse
             a.    Gross receipts                               $                0.00 $                0.00
             b.    Ordinary and necessary business expenses $                    0.00 $                0.00
             c.    Business income                              Subtract Line b from Line a                  $                 0.00 $                0.00
            Net Rental and other real property income. Subtract Line b from Line a and enter the
            difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
     4                                                                 Debtor                 Spouse
             a.    Gross receipts                               $         20,000.00 $                     0.00
             b.    Ordinary and necessary operating expenses $            20,000.00 $                     0.00
             c.    Rent and other real property income          Subtract Line b from Line a                      $             0.00 $                0.00
     5      Interest, dividends, and royalties.                                                                  $             0.00 $                0.00
     6      Pension and retirement income.                                                                       $             0.00 $            308.33
            Any amounts paid by another person or entity, on a regular basis, for the household
            expenses of the debtor or the debtor's dependents, including child support paid for that
     7      purpose. Do not include alimony or separate maintenance payments or amounts paid by the
            debtor's spouse if Column B is completed. Each regular payment should be reported in only one
            column; if a payment is listed in Column A, do not report that payment in Column B.                  $             0.00 $                0.00
            Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
            However, if you contend that unemployment compensation received by you or your spouse was a
            benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8      or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act Debtor $             0.00 Spouse $                0.00 $               0.00 $                0.00
            Income from all other sources. Specify source and amount. If necessary, list additional sources
            on a separate page. Total and enter on Line 9. Do not include alimony or separate maintenance
            payments paid by your spouse if Column B is completed, but include all other payments of
            alimony or separate maintenance. Do not include any benefits received under the Social
     9      Security Act or payments received as a victim of a war crime, crime against humanity, or as a
            victim of international or domestic terrorism.
                                                                        Debtor               Spouse
             a.                                                  $                      $
             b.                                                  $                      $                   $                  0.00 $                0.00



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B22B (Official Form 22B) (Chapter 11) (12/10)                                                                                                     2

    10      Subtotal of current monthly income. Add lines 2 thru 9 in Column A, and, if Column B is
            completed, add Lines 2 thru 9 in Column B. Enter the total(s).                                          $             0.00 $              308.33
            Total current monthly income. If Column B has been completed, add Line 10, Column A to
    11      Line 10, Column B, and enter the total. If Column B has not been completed, enter the amount
            from Line 10, Column A.                                                                                 $                              308.33

                                                                       Part II. VERIFICATION
            I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
            must sign.)
                          Date: December 9, 2011                                        Signature: /s/ Wayne Lester Stutts
                                                                                                     Wayne Lester Stutts
    12                                                                                                          (Debtor)

                             Date:     December 9, 2011                                 Signature    /s/ Joyce A. Stutts
                                                                                                      Joyce A. Stutts
                                                                                                               (Joint Debtor, if any)




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